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       In The United States Court of Federal Claims
                        Nos. 07-006T, 07-706T, 08-135T and 08-605T

                                    (Filed: October 10, 2008)
                                           __________
 PRINCIPAL LIFE INSURANCE
 COMPANY AND SUBSIDIARIES,


                       Plaintiff,

        v.

 THE UNITED STATES,

                       Defendant.
                                          _________

                                           ORDER
                                          __________


      A telephonic status conference will be held in this case on October 21, 2008, at 2:30 p.m.
(EDT). Chambers will contact both parties shortly before the scheduled conference time.

       IT IS SO ORDERED.


                                                           s/ Francis M. Allegra
                                                           Francis M. Allegra
                                                           Judge
